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UNITED STATES OF AMERICA

Vv.
CRIMINAL NO.
MATTHEW NELSON TUNSTALL,

ROBERT REYES, JR., and A 2 1 Ck ? 2 3 LY
KYLE GEORGE DAVIES,

Defendants.

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MOTION TO SEAL INDICTMENT

TO THE HONORABLE JUDGE OF SAID COURT:

The United States of America, by and through the undersigned Trial Attorneys from the
Public Integrity Section of the U.S. Department of Justice’s Criminal Division, respectfully
requests that the Court seal all documents relating to the Indictment of Matthew Nelson Tunstall,
Robert Reyes, Jr., and Kyle George Davies (collectively, the “Defendants”), filed in the above-
styled cause. These documents include the Indictment, the Record of Grand Jurors Concurring, the
Personal Data Sheets, the Order for Bench Warrants, as well as this Motion to Seal the Indictment.
As reason for such request, the United States submits that information contained in these
documents should be sealed so as to safely effect the arrest of the Defendants and avoid a risk of

flight.
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The United States seeks leave to share the arrest warrants and Indictment with the
appropriate U.S. law enforcement authorities to affect their arrest, as some of the Defendants may
be located in other jurisdictions. A file-stamped copy shall be issued to the affiant and the United

States.

Respectfully submitted,

Corey R. Amundson
Chief, Public Integrity Section

 

Rebecca M. Schuman, Trial Attorney
Michael N. Lang, Trial Attorney
Public Integrity Section

Criminal Division

U.S. Department of Justice

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